Case 2:20-cv-03107-RGK-AFM Document 41 Filed 06/10/21 Page 1 of 3 Page ID #:172




 James K. Schultz, Esq. (SBN 309945)
 Debbie P. Kirkpatrick, Esq. (SBN 207112)
 SESSIONS, ISRAEL & SHARTLE, L.L.P.
 1545 Hotel Circle South, Suite 150
 San Diego, CA 92108-3426
 Tel: 619/758-1891
 Fax: 877/334-0661
 jschultz@sessions.legal
 dkirkpatrick@sessions.legal

 Attorneys for Plaintiff Viva Naturals, Inc.

                       UNITED STATES DISTRICT COURT

                     CENTRAL DISTRICT OF CALIFORNIA

  VIVA NATURALS, INC.,             )           Case No. 2:20-CV-03107-RGK-AFM
                                   )
                 Plaintiff         )           NOTICE OF MOTION AND
                                   )           MOTION FOR SUMMARY
       vs.                         )           JUDGMENT
                                   )
  LIEF ORGANICS, LLC,              )           Hearing Date: July 12, 2021
                                   )           Hearing Time: 9:00 a.m.
                 Defendant         )
                                   )           Final Pretrial Conf.: August 9, 2021
                                   )           Trial Date: August 24, 2021
                                   )
                                   )           [Concurrently filed with: (1)
                                   )           Memorandum of Points and Authorities
                                   )           (2) Separate Statement of
                                   )           Uncontroverted Facts and Conclusions
                                   )           of Law; (3) Declaration of James
                                   )           Schultz; and (4) Proposed Judgment]
  ________________________________ )


  TO DEFENDANT AND ITS ATTORNEYS OF RECORD:
Case 2:20-cv-03107-RGK-AFM Document 41 Filed 06/10/21 Page 2 of 3 Page ID #:173




          PLEASE TAKE NOTICE that on Tuesday, July 12, 2021 at 9:00 a.m. or as

  soon thereafter as the matter may be heard before the Honorable R. Gary

  Klausner, United States District Judge presiding, in Courtroom 850 of the above-

  entitled Court, located at Roybal Federal Building and U.S. Courthouse, 255 East

  Temple Street, Los Angeles, California, Viva Naturals, Inc. (“Plaintiff”) will and

  hereby does move for summary judgment in favor of Plaintiff and against

  Defendant.

          Pursuant to Federal Rule of Civil Procedure 56, and for the reasons outlined

  in this Motion and the supporting documents filed contemporaneously with this

  Motion, Plaintiff respectfully moves this Court for entry of judgment ordering

  that:

          (a) Defendant pay Plaintiff $309,384 for breach of contract, breach of

             express and implied warranty, and negligence;

          (b) Defendant’s Counterclaim be dismissed with prejudice;

          (c) Defendant pay pre and post judgment interest at the maximum

             allowable rate on any amounts awarded; and

          (d) Any and all further relief as the Court deems necessary, just and

             proper.

          This motion is supported by the Statement of Uncontroverted Facts and

  Conclusions of Law, the Declaration of James K. Schultz filed concurrently with
Case 2:20-cv-03107-RGK-AFM Document 41 Filed 06/10/21 Page 3 of 3 Page ID #:174




  exhibits, the pleadings on file in this action, and any such other evidence and

  argument as may be adduced at the hearing on this matter. Pursuant to Local

  Rule 7-3, this Motion is made following the conferences of counsel which took

  place telephonically on May 28 and June 3, 2021.

                                Respectfully submitted,


 Dated: June 10, 2021
                                SESSIONS, ISRAEL & SHARTLE, L.L.P.

                                /s/James K. Schultz
                                James K. Schultz
                                Debbie P. Kirkpatrick
                                Attorneys for Plaintiff Viva Naturals, Inc.
